                    Case 4:08-cr-00315-RSB-CLR Document 1547 Filed 07/09/15 Page 1 of 1
AO 247 (1011 1) Order Regarding Motion Ibr Stitence Reduction Pursuant 10 IS U.S.C. § 3582(c)(2)                                      Page 1 of (Page 2 Not f o r Public Disclosure)



                                                                 UNITED STATES DISTRICT C
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                                                                    Southern District of Georgia SA V14 NJVX/i                             T
                                                                        Savannah Division
                                                                                                              JUL              7flj
                        United States of America
                                   V.                                                               CLER
                         Antonio Dawon Woodley
                                                                                          ) Case No: 4
                                                                                          ) USMNo.- 11625-021
                                                                                                             M-
                                                                                                                 QM
                                                                                                                       ~
Date of Original Judgment:         January 21, 2011                                       ) Eugene C. Brooks, IV
Date of Previous Amended Judgment: N/A                                                    ) Defendant's Attorney
(Use Dale of Last Amended Judgment. ifany)


                                           Order Regarding slotioii for Sentence Reduction Pursuant In 18 U.S.C. § 3582(c)(2)


        Upon motion of                 J
                               the defendant      the Director of the Bureau of Prisons       the court under 18 U.S.C.    I
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § I 1.10 and
the sentencing factors set forth in 18 U.S.C. § 3 553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
FX DENIED. GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the last judgment
             issued) of        months is reduced to


                                                     (Complete Paris / and II of Page 2 when motion is granted)




Except as otherwise provided above, all provisions of the judgment dated Juivarv 21. 2011,                                     shall remain in effect.
IT IS SO ORDERED,

Order Date:                   4-v                                                                                   Judge 's signal


                                                                                               William T. Moore, Jr.
                                                                                               Judge, U.S. District Court
Effective Date: November 1, 2015                                                               Southern District of Georgia
                          (if dtfferent from    order date)                                                     Printed name and title
